                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

FRED WATSON,                                    )
                                                )
              Plaintiff,                        )   Case No. 4:17-cv-2187 JCH
                                                )
       v.                                       )
                                                )
CITY OF FERGUSON, MISSOURI, et al.              )
                                                )
              Defendants.                       )

                            RESPONSE TO COURT’S ORDER

       Plaintiff and Defendants write in Response to this Court’s Order of September 27, 2022

(ECF No. 216), asking the parties to indicate in whether they believe the Court’s September 26,

2022 Memorandum and Order (ECF No. 214) should remain under seal. After conferring, all

parties believe that there is no reason that the Memorandum need remain under seal.


Dated: September 29, 2022                           Respectfully submitted,


                                                ARCHCITY DEFENDERS, INC.

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